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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

MARY HOLCOMBE,                                   §
                                                 §
                   PLAINTIFF                     §
                                                 §
       v.                                        §
                                                           Civil Action No.
                                                 §
IBM Corp., IBM Plan, and Fidelity                §
Workplace Services                               §
                                                 §
                   DEFENDANTS.
                                                 §

                                 PLAINTIFF’S COMPLAINT

              COMPLAINT ¶1:

        Plaintiff brings this action pursuant to ERISA to secure all benefits to which Plaintiff is
entitled under a group employee benefits plan sponsored by IBM Corp. (IBM), administered by
the IBM Plan, and insured and administered by Fidelity Workplace Services (“Fidelity”).

                                            PARTIES

              COMPLAINT ¶2:

       Plaintiff is a citizen and resident of Tampa, FL.

              COMPLAINT ¶3:

      IBM is a properly organized business entity doing business in the State of Florida. IBM
may be served with process by serving its registered agent.

              COMPLAINT ¶4:

        The plan at issue in the case at bar was sponsored by IBM, administered by the IBM
Plan, and insured and administered by Fidelity. The IBM Plan may be served with process by
serving its registered agent.

              COMPLAINT ¶5:

       Fidelity is a business entity doing business in the Middle District of Florida. Fidelity may
be served with process by serving its registered agent.

                               JURISDICTION AND VENUE



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              COMPLAINT ¶6:

        Plaintiff brings this action to enforce her rights under section 502(a)(1)(B) of the
Employee Retirement Income Security Act, (ERISA), which provides “[a] civil action may be
brought . . . (1) by a participant or by a beneficiary . . . (B) to recover benefits due to him under
the terms of his plan, to enforce his rights under the terms of the plan, or to clarify his rights to
future benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B).

              COMPLAINT ¶7:

        Venue in the Middle District of Florida is proper by virtue of Defendants doing business
in the Middle District of Florida.

                   CONTRACTUAL AND FIDUCIARY RELATIONSHIP

              COMPLAINT ¶8:

       At all times relevant to this action, Plaintiff has been a covered beneficiary under a
employee welfare group benefits plan sponsored by IBM. Plaintiff was eligible to participate in
the IBM Future Health Account (FHA) benefits group plan (the “Plan) because of Plaintiff’s
employment with IBM.

              COMPLAINT ¶9:

       IBM, Fidelity and the IBM Plan administered the Plan.

              COMPLAINT ¶10:

        Defendants have a fiduciary obligation to administer the Plan fairly and to furnish
disability benefits according to the terms of the Plan.

                                  ADMINISTRATIVE APPEAL

              COMPLAINT ¶11:

       Plaintiff became employed with IBM on July 5, 1984.

              COMPLAINT ¶12:

       Plaintiff was briefly outsourced to AT&T effective May 1, 1999.

              COMPLAINT ¶13:

      Plaintiff returned to working directly for IBM as part of an acquisition in June 2003,
when she began her Future Health Account (FHA).

              COMPLAINT ¶14:

       The FHA Plan included the following terms:

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        “If you left IBM before July 1, 1999 and return on or before December 31, 2003, you’ll
begin credits to a Future Health Account once you become eligible. Your previous periods of
service will count toward the one-year-of-service eligibility and the 15 years-of-service
requirement for receiving benefits. “

              COMPLAINT ¶15:

       On November 29, 2016, Plaintiff accepted a one (1) year bridge to retirement which
ended October 31, 2017 due to reaching age 55 in October 2017. Retirement was effective on
November 1, 2017.

       Plaintiff received a separation package with documentation stating “The period of the
retirement bridge will count as service credit towards eligibility for retiree medical benefits.”

              COMPLAINT ¶16:

        Plaintiff applied to access the benefits in her Future Health Account, which contains at
least $29,000. On June 30, 2017, Office of the Plan Administrator for IBM denied her request.

              COMPLAINT ¶17:

       Plaintiff appealed, and on August 10, 2017, H.N. Kaufman, IBM Plan Administrator
denied her appeal.

              COMPLAINT ¶18:

        Plaintiff appealed and on November 30, 2017, H.N. Kaufman, IBM Plan Administrator,
denied her appeal.

              COMPLAINT ¶19:

       On January 24, 2018, Plaintiff contacted the IBM Employee Service Center to request the
administrative record and plan documents. IBM transferred Plaintiff to Fidelity, who did not
provide her the requested documents.

              COMPLAINT ¶20:

       On or about March 28, 2018, Plaintiff’s counsel contacted the IBM Plan and requested
“and pursuant to ERISA § 502(c)(1), we request a copy of all Plan documents, including the
summary plan description (SPD), group contract, insurance certificate, amendments and riders.
We also request a copy of the administrative record created in the course of her application and
subsequent appeals.” IBM responded that a notarized “request for release of records” must be
signed by Plaintiff. On July 23, 2018 this was sent to IBM as requested.

              COMPLAINT ¶21:

      On August 24, 2018, Fidelity provided Plaintiff’s counsel with account statements for her
401K plan.

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                          IBM PLAN ’S CONFLICT OF INTEREST

              COMPLAINT ¶22:

        At all relevant times, the IBM Plan has been operating under an inherent and structural
conflict of interest as the IBM Plan is liable for benefit payments due to Plaintiff and each
payment depletes the IBM Plan’s assets.

              COMPLAINT ¶23:

       The IBM Plan’s determination was influenced by its conflict of interest.

              COMPLAINT ¶24:

       The IBM Plan has failed to take active steps to reduce potential bias and to promote
accuracy of its benefits determinations.

    I: IBM PLAN’S BREACH OF FIDUCIARY DUTY, ERISA 29 U.S.C. § 1132(a)(3)

              COMPLAINT ¶25:
               Plaintiff incorporates those allegations in paragraphs 1 through 25 as though set
              forth at length herein

              COMPLAINT ¶26:

       IBM operated as a plan administrator and was a plan fiduciary under ERISA.

              COMPLAINT ¶27:

       IBM willful and deliberate actions to deny Plaintiff’s claim for FHA benefits constitute a
breach of fiduciary duty pursuant to ERISA.

II: IBM PLAN ’S WRONGFUL DENIAL OF BENEFITS, ERISA, 29 U.S.C. § 1132

              COMPLAINT ¶28:

        Plaintiff incorporates those allegations in paragraphs 1 through 25 as though set forth at
length herein

              COMPLAINT ¶29:

       IBM Plan has wrongfully denied disability benefits to Plaintiff in violation of Plan
provisions and ERISA for the following reasons:

       a.      Plaintiff was qualified for FHA benefits pursuant to the terms of the Plan;

        b.    IBM Plan failed to afford proper weight to the evidence in the administrative
record showing that Plaintiff qualified for FHA benefits


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        c.       IBM Plan’s interpretation of the terms in the plan is contrary to the plain language
of the plan, as it is incorrect, unreasonable, arbitrary, and capricious;

        d.     IBM Plan has violated its contractual obligation to furnish FHA benefits to
Plaintiff.

       III.    DEFENDANTS VIOLATION OF ERISA 502(C), ERISA § 502(a)(1)(A).

              COMPLAINT ¶30:

       ERISA § 104(b)(4), 29 U.S.C. § 1024(b)(4) states, “The administrator shall, upon written
request of any participant or beneficiary, furnish a copy of the latest updated summary, plan
description, and the latest annual report, any terminal report, the bargaining agreement, trust
agreement, contract, or other instruments under which the plan is established or operated.”

              COMPLAINT ¶31:

       Despite Plaintiff’s multiple requests to the IBM Plan, IBM, and Fidelity, Defendants
refused to provide her requested plan documents, and Plaintiff is entitled to $110 a day as
penalty.

       WHEREFORE, Plaintiff demands judgment for the following:

       A.      Grant Plaintiff declaratory relief, finding that he is entitled to all FHA

benefits unpaid;

       B.      Order Defendants to pay Plaintiff $110 a day for failing to provide plan

documents she requested;

       C.      Order Defendants to pay for the costs of this action and Plaintiff’s attorney’s

fees, pursuant to Section 502(g) of ERISA, 29 U.S.C. § 1132(g); and

       D.      For such other relief as may be deemed just and proper by the Court.




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DATED: 2/26/19                           Respectfully submitted,

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